   Case: 1:14-cv-08461 Document #: 367 Filed: 06/28/19 Page 1 of 4 PageID #:8247



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Keith Snyder and Susan Mansanarez,                 )
individually and on behalf of all others similarly )
situated,                                          )   Case No. 1:14-cv-08461
                                                   )
                                                   )   Honorable Matthew F. Kennelly
                                                   )
                                                   )
                                                       Consolidated
                                                   )
                                                   )
Ocwen Loan Servicing, LLC,                         )
                                                   )
                                                   )
                                                   )
                                                   )
Tracee A. Beecroft, on behalf of herself and all )
others similarly situated,                         )   Case No. 1:16-cv-08677
                                                   )
                                                   )   Honorable Matthew F. Kennelly
                                                   )
                                                   )
                                                       Consolidated
                                                   )
                                                   )
Ocwen Loan Servicing, LLC,                         )
                                                   )
                                                   )



                  PLAINTIFFS’ MOTION FOR ENTRY OF JUDGMENT
   Case: 1:14-cv-08461 Document #: 367 Filed: 06/28/19 Page 2 of 4 PageID #:8248



         Pursuant to Fed. R. Civ. P. 58(d), Plaintiffs respectfully move this Court to order the

clerk of court to enter judgment in this matter.

         1.     On June 4, 2019, the Court signed and entered an Order Granting Final Approval

of Class Action Settlement and Dismissing Class Plaintiffs’ Claims (Dkt. 362). The Order states,

“A Judgment substantially in the form attached hereto as Exhibit H-1 will be entered forthwith.”

(Dkt. 362, ¶ 31). The proposed Judgment attached as Exhibit H-was unsigned.

         2.     Absent exceptions that do not apply here, Rule 58 requires that every judgment

must be set out in a separate document. Fed. R. Civ. P. 58(a).

         3.     The ECF notice accompanying the June 4, 2019 Order provides: “ORDER

GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND DISMISSING

CLASS PLAINTIFFS’ CLAIMS, signed by the Honorable Matthew F. Kennelly on 6/4/2019.” It

does not otherwise reference a judgment, and the Clerk of the Court has not since entered a

judgment.

         4.     The transcript from the June 19, 2019 status hearing includes a discussion by and

between counsel and the Court that makes it appear that everyone may be operating under the

mistaken belief that a judgment has been entered in this matter and that the 30-day period to file

a notice of appeal pursuant to Fed. R. App. Proc. 4(a)(1) is running and will lapse on July 5,

2019.

         5.     Plaintiffs bring this motion to seek clarification and entry of judgment under Rule

58(d).

         For the foregoing reasons, Plaintiffs request the Court order the Court Clerk to enter the

judgment in this matter.




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Case: 1:14-cv-08461 Document #: 367 Filed: 06/28/19 Page 3 of 4 PageID #:8249




   RESPECTFULLY SUBMITTED AND DATED this 28th day of June, 2019.

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                                      2
   Case: 1:14-cv-08461 Document #: 367 Filed: 06/28/19 Page 4 of 4 PageID #:8250



                                CERTIFICATE OF SERVICE

       I, Beth E. Terrell, certify that I caused the foregoing to be served upon all persons and

entities authorized and registered to receive such service through the Court’s Case

Management/Electronic Case Files (CM/ECF) system on June 28, 2019.

                                             /s/ Beth E. Terrell
                                             Beth E. Terrell, Admitted Pro Hac Vice
                                             Dated: June 28, 2019
